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 5
 6
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 7
 8                    SOUTHERN DISTRICT OF CALIFORNIA

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10
      SANGAM SHETH and JAMES WARYCK,           Case No. 3:22-cv-01096-L-MDD
11
      Plaintiffs,                              DELCARATION OF SANGAM SHETH IN
12                                             SUPPORT OF OPPOSITION TO MOTION
      v.                                       TO TRANSFER VENUE TO INDIANA
13                                             FEDERAL COURT
14 THOR MOTOR COACH, INC.; FORD
      MOTOR COMPANY; MIKE THOMPSON             Hearing Date: 10/21/22
15 RECREATIONAL VEHICLES, SANTA FE             Hearing Time: 10:30 a.m.
      SPRINGS                                  Courtroom: 5B
16 INLAND EMPIRE RV CENTER, INC.
17 d/b/a MIKE THOMPSON RECREATIONAL            Honorable M. James Lorenz
      VEHICLES, SANTA FE SPRINGS RV, and
18    RELIABLE DELIVERY SERVICES, INC

19                      Defendants
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 1        I, SANGAM SHETH, am a Plaintiff in California Southern District
 2 Court Case 3:22-cv-01096-L-MDD (“THE Case”). I am over the age of
 3 eighteen (18) years and I am competent to testify regarding the facts contained
 4 herein. I possess personal knowledge of the facts contained herein and if called
 5 upon to testify I could and would do so as follows:
 6        1.     When my business partner and I bought the Subject Vehicle, we
 7 first negotiated the price of the Vehicle and Payment Terms. Those terms are
 8 memorialized in the Purchase Contract. A True and Correct Copy of that
 9 Contract is attached hereto as EXHIBIT A.
10        2.     My business partner and I felt we were not given a proper
11 introduction to the vehicle after we took possession of it. The dealer fumbled
12 with the controls, did not know where certain buttons where, had to show them
13 what I was referring to instead of the other way around.
14        3.     The contract process itself felt very normal from other vehicle sales
15 I have dealt with in the past, however at no point was I told that I would need to
16 deal with an out of state person or entity to obtain warranty or support for the
17 RV.
18        4.
19 Dated: October 3, 2022                  MCMILLAN LAW GROUP, APC

20                                         By:      /s/Sangam Sheth_
21                                                  SANGAM SHETH

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                                                 Declaration of Sangam Sheth         – pp.   1
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             EXHIBIT A
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